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Swject Prayer is the weapon.

(Isamic Greeting:) In the name of Allah, the All Merciful, the All Compassionate.
Ga's peace, mercy and blessings be upon you,

M)dear brothers, this is the office of Sheikh Ussamah Bin Laden in Qandahar.

Hesends you a message of gratitude and appreciation and asks you not to forget to pray during this

Tre infidels (Kafers) and the hypocrites have collaborated against us.

It'sa sad situation, when an Islamic nation faces death and the world stands by and watches.

VWVi are profoundly committed to jihad.

| &k you to continue in prayer.
Ga is the benefactor of His servants. (Replaces: God blesses the pious.)

Ycur brothers, the Mujahedeens (Ussamah Bin Laden Brigade)

Hh

Visit out site: www.....
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Accused leader
of foundation
to return to U.S.

THE ASSOCIATED Press

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MEDFORD — Pete Seda |
plans to return to the United |
States from the Middle East
to fight accusations that he
conspired to transport |
$150,000 out of the country il-
legally, his lawyers said:

A federal grand jury
Wednesday indicted Seda |
and Soliman Al-Buthe, his |
Saudi Arabian partner in the
Ashland chapter of the Al-
Haramain: Islamic Founda-
tion. The federal government
has labeled Al-Buthe and the
chapter as supporters of
terrorism.

Seda heads the chapter, ,
but has not been labeled by
the federal government as a |
terrorism supporter. :

Lynne Bernabei, the |
Washington, D.C, lawyer
representing Seda, Al-Buthe
and Al-Haramain’s Ashland _
chapter in the terrorist desig-
nation case, told the (Med-
ford) Mail-Tribune that Seda
is familiar with the charges
against him and will return
to the U.S. “soon.”

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The Register-Guard

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Sunday, February 20, 2005 3

